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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :    CRIMINAL NO. 21-CR-050 (CRC)
                                                  :
              v.                                  :    MAGISTRATE NO. 21-MJ-179
                                                  :    MAGISTRATE NO. 21-MJ-181
 JENNIFER LEIGH RYAN,                             :
 JASON LEE HYLAND, and                            :    VIOLATIONS:
 KATHERINE STAVELEY SCHWAB,                       :    18 U.S.C. § 1752(a)(1)
                                                  :    (Entering and Remaining in a Restricted
                       Defendants.                :    Building)
                                                  :    18 U.S.C. § 1752(a)(2)
                                                  :    (Disorderly and Disruptive Conduct in a
                                                  :    Restricted Building)
                                                  :    40 U.S.C. § 5104(e)(2)(D)
                                                  :    (Violent Entry and Disorderly Conduct in
                                                  :    a Capitol Building)
                                                  :    40 U.S.C. § 5104(e)(2)(G)
                                                  :    (Parading, Demonstrating, or Picketing in
                                                  :    a Capitol Building)

                                     INFORMATION

       The United States Attorney charges that:

                                          COUNT ONE

       On or about January 6, 2021, within the District of Columbia, JENNIFER LEIGH

RYAN, JASON LEE HYLAND, and KATHERINE STAVELEY SCHWAB, did knowingly

enter and remain in the United States Capitol, a restricted building, without lawful authority to do

so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))

                                         COUNT TWO

       On or about January 6, 2021, within the District of Columbia, JENNIFER LEIGH

RYAN, JASON LEE HYLAND, and KATHERINE STAVELEY SCHWAB, knowingly, and

with intent to impede and disrupt the orderly conduct of Government business and official

functions, engaged in disorderly and disruptive conduct in and within such proximity to, the United
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States Capitol, a restricted building, when and so that such conduct did in fact impede and disrupt

the orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, within the District of Columbia, JENNIFER LEIGH

RYAN, JASON LEE HYLAND, and KATHERINE STAVELEY SCHWAB, willfully and

knowingly engaged in disorderly and disruptive conduct in any of the Capitol Buildings with the

intent to impede, disrupt, and disturb the orderly conduct of a session of Congress or either House

of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))

                                        COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, JENNIFER LEIGH RYAN,

JASON LEE HYLAND, and KATHERINE STAVELEY SCHWAB, willfully and knowingly

paraded, demonstrated, and picketed in a Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                             Respectfully submitted,

                                             MICHAEL R. SHERWIN
                                             Acting United States Attorney
                                             N.Y. Bar No. 4444188

                                      By:
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